         Case 8:22-cr-00091-PX Document 264 Filed 08/28/24 Page 1 of 2
                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,

        v.

 AKBAR MASOOD                                            Criminal Action No. PX-22-0091

        Defendants.


                                           ORDER

   For the reasons discussed during today’s telephone conference and with the parties’

agreement, the Court hereby suspends the commencement of trial set to begin on September 3,

2024, so that it may properly resolve the issues raised at ECF No. 241. Also by agreement, the

Court will conduct an evidentiary hearing on Thursday, August 29, 2024 on the same motion. In

preparation for that hearing, the Court hereby ORDERS that by 5:00 p.m. today (with the

Government’s agreement that it can and will comply with this deadline), the Government

produce to counsel for Mr. Masood and this Court the following:


   1. All documents relevant to the chain of custody for the devices which the Defense asserts
      at ECF No. 261 have been neither imaged nor retained by the Government;

   2. All documents relevant to the chain of custody for all 30 devices which the Government
      asserts have been imaged and returned, including any evidence reflecting that the data
      stored on the devices was produced to defense counsel since the August 23, 2024
      hearing;

   3. All correspondence from the Government to former and current defense counsel
      (including emails) memorializing any Government’s productions to defense pursuant to
      under Federal Rule of Criminal Procedure 16, Brady v. Maryland, Jencks and Giglio;

   4. All evidence concerning the Government’s efforts to comply with Brady v. Maryland, the
      Due Process Protection Act and Federal Rule of Criminal Procedure 5(f). See ECF No.
      23.

   The Government shall also provide to the Court for in camera inspection and review all

communications, documents and memoranda concerning the taint team review process of the
          Case 8:22-cr-00091-PX Document 264 Filed 08/28/24 Page 2 of 2




thirty seized devices. As to this category, the Court expects the Government to produce by 5:00

p.m. today what is in his current possession, custody, or control. The Government acknowledges

its ongoing obligation to expeditiously perform its due diligence to produce any remaining taint

team evidence not reasonably available by 5:00 p.m. today by close of business on Tuesday,

September 3, 3024.


   For all ordered productions, the documents shall be bate stamped. They should also be

organized by subject, author and chronology, where feasible.


To facilitate the production to the Court, an Egnyte link shall be provided.


       Dated: August 28, 2024                                   /S/
                                                     Paula Xinis
                                                     United States District Judge




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